Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 1 of 28




          EXHIBIT 68
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 2 of 28
                                CONFIDENTIAL

1                        UNITED STATES DISTRICT COURT
2                      NORTHERN DISTRICT OF CALIFORNIA
3                             SAN FRANCISCO DIVISION
4
5          BRAYDEN STARK AND JUDD OOSTYEN,            )CASE NO.
           ON BEHALF OF THEMSELVES AND ALL            )3:22-cv-03131-JCS
6          OTHERS SIMILARLY SITUATED,                 )
                                                      )
7                PLAINTIFFS,                          )
                                                      )
8          v.                                         )
                                                      )
9          PATREON, INC.,                             )
                                                      )
10               DEFENDANT.                           )
           __________________________________)
11
12
13
14                          CONFIDENTIAL TRANSCRIPT
15               VIDEO-RECORDED DEPOSITION OF BRAYDEN STARK
16                               OCTOBER 4, 2023
17
18
19
20
21
22
23         JOB NO. 6108020
24         REPORTED STENOGRAPHICALLY BY:
25         MARY K. MEDLEY, CSR NO. 9557

                                                                  Page 1

                               Veritext Legal Solutions
                       Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 3 of 28
                                CONFIDENTIAL

 1        CONFIDENTIAL VIDEO-RECORDED DEPOSITION OF BRAYDEN
 2        STARK, TAKEN ON BEHALF OF THE DEFENDANT, AT
 3        9:35 A.M., WEDNESDAY, OCTOBER 4, 2023, AT 350 SOUTH
 4        GRAND AVENUE, LOS ANGELES, CALIFORNIA, BEFORE
 5        MARY K. MEDLEY, CSR NO. 9557.
 6
 7        APPEARANCES OF COUNSEL:
 8
 9        FOR THE PLAINTIFF:
10             GIRARD SHARP LLP
               BY: SIMON GRILLE, ESQ.
11             BY: REID GAA, ESQ.
               601 CALIFORNIA STREET, SUITE 1400
12             SAN FRANCISCO, CALIFORNIA 94108
               (415) 981-4800
13             SGRILLE@GIRARDSHARP.COM
               RGAA@GIRARDSHARP.COM
14
15        FOR DEFENDANT PATREON, INC.:
16             THE NORTON LAW FIRM PC
               BY: FRED NORTON, ESQ.
17             BY: NATHAN WALKER, ESQ.
               299 THIRD STREET, SUITE 200
18             OAKLAND, CALIFORNIA 94607
               (510) 906-4900
19             FNORTON@NORTONLAW.COM
               NWALKER@NORTONLAW.COM
20
21        ALSO PRESENT:       LUIS VASQUEZ, VIDEOGRAPHER
22
23
24
25

                                                                 Page 2

                               Veritext Legal Solutions
                       Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 4 of 28
                                CONFIDENTIAL

1                                        INDEX
2         DEPONENT                      EXAMINATION                      PAGE
3         BRAYDEN STARK
4                                       BY MR. NORTON                       5
5
6                                       EXHIBITS
7         NO.             PAGE                DESCRIPTION
8         EXHIBIT 1         58     CLASS ACTION COMPLAINT
9         EXHIBIT 2         59     FIRST AMENDED CLASS ACTION
                                   COMPLAINT
10
          EXHIBIT 3        107     FACEBOOK PAGE PRINTOUT
11
          EXHIBIT 4        108     FACEBOOK PRINTOUT, 11 PAGES
12
          EXHIBIT 5        111     QUORA PRINTOUT, 15 PAGES
13
          EXHIBIT 6        129     LIST OF URLS
14
15
16
17
18
19
20
21
22
23
24
25

                                                                 Page 3

                               Veritext Legal Solutions
                       Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 5 of 28
                                CONFIDENTIAL

1               WEDNESDAY, OCTOBER 4, 2023; 9:35 A.M.

2                                  *****

3             THE VIDEOGRAPHER:     Good morning.     We are on the   09:35:35

4        record at 9:35 a.m. on October 4th, 2023.        Please      09:35:36

5        note the microphones are sensitive and may pick up           09:35:42

6        whispering and private conversations.        Please mute     09:35:44

7        your phones at this time.     Audio and video recording      09:35:48

8        will continue to take place unless all parties agree         09:35:50

9        to go off the record.                                        09:35:53

10                  This is the video-recorded deposition of          09:35:54

11       Brayden Stark, taken in the matter of Stark, Brayden         09:35:56

12       versus Patreon, Inc., filed in the United States             09:36:01

13       District Court of Northern District of California.           09:36:03

14       The case number is 3:22-cv-03131-JCS.                        09:36:06

15                  My name is Luis Vasquez representing              09:36:19

16       Veritext and I am the videographer.        The court         09:36:22

17       reporter is Mary Medley from the firm Veritext.              09:36:25

18                  At this time, will everyone attending             09:36:27

19       please identify yourself for the record.                     09:36:29

20            MR. GRILLE:    Good morning.    This is Simon           09:36:31

21       Grille on behalf of the plaintiffs.                          09:36:33

22            MR. GAA:    Reid Gaa on behalf of the plaintiffs.       09:36:36

23            MR. NORTON:    Fred Norton on behalf of Defendant       09:36:39

24       Patreon.                                                     09:36:42

25            MR. WALKER:    Nate Walker on behalf of Patreon.        09:36:43

                                                                        Page 4

                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 6 of 28
                                CONFIDENTIAL

1             THE VIDEOGRAPHER:        Will the court reporter        09:36:46

2        please swear in the witness.                                 09:36:47

3

4                                BRAYDEN STARK,

5           having been first duly sworn by the reporter,

6                  was examined and testified as follows:

7

8                                 EXAMINATION

9        BY MR. NORTON:

10            Q.     Good morning.     As you heard, my name's Fred   09:36:57

11       Norton, I'm the attorney representing Patreon in             09:37:00

12       this case and I'll be asking you questions here this         09:37:03

13       morning.                                                     09:37:06

14            A.     Sounds good.                                     09:37:06

15            Q.     Have you ever had your deposition taken          09:37:07

16       before?                                                      09:37:08

17            A.     No.                                              09:37:08

18            Q.     Have you had a chance to talk to your            09:37:09

19       counsel -- Let me back up a second.                          09:37:10

20                   Is your counsel present here this morning?       09:37:12

21            A.     Yes.                                             09:37:14

22            Q.     And who is your counsel?                         09:37:14

23            A.     Simon Grille and Reid Gaa.                       09:37:15

24            Q.     Have you had a chance to talk to your            09:37:18

25       counsel about what the deposition entails?                   09:37:19

                                                                        Page 5

                                    Veritext Legal Solutions
                            Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 7 of 28
                                CONFIDENTIAL

1        address, name, address, date of birth, and other         09:51:58

2        personal info.                                           09:52:06

3             Q.   To the extent that Patreon does not profit     09:52:38

4        from the use of the information you described, what      09:52:42

5        effect would that have on your complaint?                09:52:46

6             MR. GRILLE:     Object to form.                     09:52:50

7             THE WITNESS:     Could you rephrase that.           09:52:52

8             MR. NORTON:                                         09:52:57

9             Q.   If, in fact, Patreon does not profit at all    09:52:57

10       from the use of the information you described, do        09:53:00

11       you have any problem with what Patreon has done?         09:53:03

12            A.   Yes.                                           09:53:05

13            MR. GRILLE:     Object to form.                     09:53:05

14            MR. NORTON:                                         09:53:06

15            Q.   And so if Patreon does not profit from the     09:53:07

16       use of the information that you described, what is       09:53:10

17       your grievance with Patreon?                             09:53:14

18            A.   They collected data of mine and others         09:53:19

19       without our consent and that has also devalued our       09:53:22

20       data because they shared it.                             09:53:28

21            Q.   When you say has devalued your data, what      09:53:41

22       do you mean?                                             09:53:48

23            A.   My data has less value monetarily.             09:53:50

24            Q.   And what specific data of yours has less       09:53:58

25       value as the result of what you think Patreon did?       09:54:01

                                                                   Page 17

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 8 of 28
                                CONFIDENTIAL

1             A.   My personal info and personal preferences.     09:54:06

2             Q.   So your personal information has less value    09:54:18

3        is your belief?                                          09:54:21

4             A.   Yes.                                           09:54:23

5             Q.   And what specific personal information has     09:54:24

6        less value than it did before as a result of what        09:54:27

7        you think Patreon did?                                   09:54:30

8             A.   The info I've mentioned before relating to     09:54:33

9        IP address, name, address, date of birth, et cetera.     09:54:38

10       And then my personal preferences.                        09:54:46

11            Q.   And you believe that Patreon disclosed         09:54:50

12       information about you to Facebook; right?                09:54:52

13            A.   Yes.                                           09:54:56

14            Q.   Does Facebook already have information         09:54:57

15       about your IP address?                                   09:54:59

16            MR. GRILLE:     Object to form.                     09:55:01

17            THE WITNESS:     I do not know.                     09:55:07

18            MR. NORTON:                                         09:55:07

19            Q.   Does Facebook already have information         09:55:07

20       about your date of birth?                                09:55:10

21            A.   Yes.                                           09:55:12

22            Q.   Does Facebook -- You also made reference to    09:55:14

23       your personal preferences.                               09:55:16

24                 Does Facebook already have info about your     09:55:17

25       personal preferences?                                    09:55:20

                                                                   Page 18

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 9 of 28
                                CONFIDENTIAL

1             MR. GRILLE:        Could I just have a standing        09:55:21

2        objection for this line of questions.                       09:55:22

3             MR. NORTON:        (No audible response.)              09:55:29

4             MR. GRILLE:        That's fine, object to form.        09:55:30

5             THE WITNESS:        Could you repeat the question.     09:55:32

6             MR. NORTON:                                            09:55:33

7             Q.     Sure.                                           09:55:33

8                    One of the categories of data that you said     09:55:33

9        you believed had lost value as a result of what you         09:55:36

10       believe Patreon had done here was the disclosure of         09:55:38

11       your personal preferences to Facebook and my                09:55:43

12       follow-up question is, does Facebook already have           09:55:46

13       information about your personal preferences?                09:55:50

14            MR. GRILLE:        Object to form.                     09:55:52

15            THE WITNESS:        I do not know.                     09:55:53

16            MR. NORTON:                                            09:55:53

17            Q.     What was the value of your data prior to        09:56:06

18       what you believe Patreon disclosed to Meta or               09:56:14

19       Facebook?                                                   09:56:25

20            A.     I don't have a dollar amount for it.            09:56:26

21            Q.     Had you ever tried to sell that data to         09:56:33

22       anybody prior to bringing this lawsuit?                     09:56:35

23            A.     No.                                             09:56:37

24            Q.     Anybody offered you money for that data         09:56:39

25       prior to this lawsuit?                                      09:56:40

                                                                      Page 19

                                     Veritext Legal Solutions
                             Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 10 of 28
                                CONFIDENTIAL

1             A.   No.                                                  09:56:43

2             Q.   Had you ever tried to place a value on that          09:56:52

3        data prior to this lawsuit?                                    09:56:55

4             A.   Not monetarily.                                      09:56:56

5             Q.   In some other sense?                                 09:56:58

6             A.   Just the value it has to me personally.              09:57:07

7             Q.   What is the value -- What do you mean when           09:57:18

8        you say the value it has to you personally?                    09:57:20

9             A.   The amount of people who know about it.              09:57:30

10       Like -- Yeah.                                                  09:57:38

11            Q.   Do you -- As a result of what you contend            09:57:48

12       Patreon did in this lawsuit, that is, disclose                 09:57:54

13       information about you to Meta, do you have an                  09:57:58

14       understanding that more people know your personal              09:58:02

15       information than knew it before?                               09:58:07

16            A.   Sorry, could you repeat it one more time.            09:58:10

17            Q.   Sure.                                                09:58:12

18                 In response to my prior question, you said           09:58:13

19       that the value of the data to you personally related           09:58:15

20       to how many people know about it and now my question           09:58:19

21       to you in follow-up is, do you have an understanding           09:58:23

22       that more people know about it now than they did               09:58:26

23       before absent what you think Patreon did?                      09:58:29

24            MR. GRILLE:      Object to form.                          09:58:31

25            THE WITNESS:      Absent to what Patreon did?        So   09:58:42

                                                                         Page 20

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 11 of 28
                                CONFIDENTIAL

1        could you rephrase?                                       09:58:45

2             MR. NORTON:     Yeah, sure.                          09:58:46

3             Q.     Are there actually more people who know       09:58:51

4        personal information about you than did before            09:58:55

5        Patreon purportedly disclosed your information to         09:59:00

6        Facebook?                                                 09:59:03

7             A.     Yes, there are more people.                   09:59:04

8             Q.     All right.   And how do you know that?        09:59:05

9             A.     Because that information was not in the       09:59:18

10       hands of Facebook before Patreon gave it to them.         09:59:21

11            Q.     And does it matter to you whether any human   09:59:27

12       being at -- Excuse me.                                    09:59:29

13                   Does it matter to you whether any human       09:59:31

14       being at Facebook ever actually looked at that data?      09:59:34

15            A.     As long as they had access to look at it,     09:59:45

16       yes, it matters.                                          09:59:47

17            Q.     And why does mere access matter?              09:59:57

18            A.     Because then they have the option to view     10:00:05

19       it and use it.                                            10:00:07

20            Q.     And why does it matter to you that they       10:00:09

21       have the option to view it and use it if, in fact,        10:00:11

22       no human being ever does?                                 10:00:15

23            A.     Because they shouldn't have had the data in   10:00:22

24       the first place.                                          10:00:24

25            Q.     How are you harmed if Facebook has access     10:00:25

                                                                    Page 21

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 12 of 28
                                CONFIDENTIAL

1        to information about you that it never uses in any        10:00:28

2        way?                                                      10:00:33

3               A.   Them having the data period is what harms     10:00:45

4        me.                                                       10:00:47

5               Q.   And my question to you is, how?               10:00:47

6               MR. GRILLE:    Object to form.                     10:00:51

7               THE WITNESS:    Because they got it without my     10:00:55

8        consent and them having it devalues it.                   10:00:56

9               MR. NORTON:                                        10:01:13

10              Q.   Anything else?                                10:01:13

11              A.   No.                                           10:01:18

12              Q.   Now, you've said a few times this morning     10:01:32

13       that information was obtained without your consent.       10:01:34

14                   Why do you say it was obtained without your   10:01:39

15       consent?                                                  10:01:41

16              A.   Because I did not consent for Patreon to      10:01:42

17       share said information.                                   10:01:46

18              Q.   When did you create your Patreon account?     10:01:49

19              A.   Believe it was 2019.                          10:01:54

20              Q.   Do you remember what month?                   10:02:01

21              A.   No.                                           10:02:02

22              Q.   Why did you create a Patreon account?         10:02:04

23              A.   To view content creators had put on the       10:02:07

24       website that wasn't available anywhere else.              10:02:13

25              Q.   Were there particular creators that you       10:02:18

                                                                    Page 22

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 13 of 28
                                CONFIDENTIAL

1        has been available on any other platforms other than     10:05:32

2        YouTube and Patreon?                                     10:05:34

3             A.   I do not know.                                 10:05:36

4             Q.   Did you look for NerdBallerTV content other    10:05:39

5        than on Patreon?                                         10:05:42

6             A.   YouTube.                                       10:05:44

7             Q.   Anyplace else?                                 10:05:47

8             A.   No.                                            10:05:48

9             Q.   So when you created your Patreon account,      10:05:58

10       do you recall just mechanically how you did it, how      10:06:07

11       you created the account?                                 10:06:11

12            A.   It likely just consisted of name, e-mail       10:06:17

13       address, date of birth, and billing information.         10:06:21

14            Q.   Did you do it -- Did you create the account    10:06:25

15       using some electronic device?                            10:06:27

16            A.   Yes.                                           10:06:30

17            Q.   All right.     And do you remember which       10:06:31

18       device you used?                                         10:06:31

19            A.   No.                                            10:06:39

20            Q.   Did you click on some link from                10:06:44

21       NerdBallerTV's YouTube page to get to the Patreon        10:06:47

22       site to create your account?                             10:06:50

23            MR. GRILLE:     Object to form.                     10:06:56

24            THE WITNESS:      I do not recall.                  10:06:57

25            MR. NORTON:                                         10:07:02

                                                                   Page 25

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 14 of 28
                                CONFIDENTIAL

1             Q.   Do you recall whether when you created your     10:07:03

2        Patreon account, whether you had to consent to any        10:07:06

3        terms of use?                                             10:07:08

4             A.   I do not know.                                  10:07:09

5             Q.   Now, you have a Facebook account; right?        10:07:10

6             A.   I do.                                           10:07:15

7             Q.   And you've had it for how long?                 10:07:15

8             A.   I believe since 2010.                           10:07:22

9             Q.   Do you remember when you got your Facebook      10:07:25

10       account, did you have to agree to some terms of use?      10:07:28

11            A.   I didn't make it for myself.                    10:07:31

12            Q.   Do you have a Reddit account?                   10:07:33

13            A.   I do.                                           10:07:34

14            Q.   When you created your Reddit account, did       10:07:35

15       you agree to some terms of use?                           10:07:37

16            A.   Most likely, yes.                               10:07:46

17            Q.   You have a TikTok account; right?               10:07:47

18            A.   I do.                                           10:07:49

19            Q.   When you created your TikTok account, did       10:07:50

20       you have to agree to some terms of use?                   10:07:51

21            A.   Yes.                                            10:07:51

22            Q.   You have a Twitter account; right?              10:07:52

23            A.   I do.                                           10:07:53

24            Q.   When you created your Twitter account, did      10:07:54

25       you have to agree to some terms of use?                   10:07:56

                                                                    Page 26

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 15 of 28
                                CONFIDENTIAL

1             A.   Yes.                                            10:07:58

2             Q.   You have an Instagram account; right?           10:07:59

3             A.   I do.                                           10:08:02

4             Q.   When you created your Instagram account,        10:08:03

5        did you have to agree to some terms of use?               10:08:05

6             A.   Yes.                                            10:08:07

7             Q.   Do you have a SoundCloud account?               10:08:11

8             A.   I do.                                           10:08:12

9             Q.   When you created your SoundCloud account,       10:08:13

10       you have to agree to some terms of use?                   10:08:16

11            A.   I don't recall for that one.                    10:08:19

12            Q.   Okay.     In your experience, is it possible    10:08:20

13       to create a social media account without agreeing to      10:08:23

14       terms of use?                                             10:08:26

15            MR. GRILLE:      Object to form.                     10:08:27

16            THE WITNESS:      Do not know.                       10:08:30

17            MR. NORTON:                                          10:08:30

18            Q.   You have a Gmail account.                       10:08:34

19                 When you created your Gmail account, did        10:08:35

20       you agree to the terms of use?                            10:08:37

21            A.   If there were terms to be agreed to, yes.       10:08:39

22            Q.   Just sitting here today, you just don't         10:08:46

23       remember whether you agreed to the Patreon terms of       10:08:48

24       use; is that fair?                                        10:08:51

25            A.   I don't remember for most of those.             10:08:52

                                                                    Page 27

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 16 of 28
                                CONFIDENTIAL

1             Q.     When you create an account on a social         10:08:54

2        media platform that does have terms of use, do you         10:08:59

3        read 'em?                                                  10:09:04

4             A.     Not intently.                                  10:09:05

5             Q.     Well, do you read them at all?                 10:09:18

6             A.     Sometimes, yes.                                10:09:19

7             Q.     Is there any rhyme or reason to why you        10:09:20

8        read them sometimes and not other times?                   10:09:22

9             MR. GRILLE:      Object to form.                      10:09:24

10            THE WITNESS:      The time on my hands.               10:09:25

11            MR. NORTON:                                           10:09:35

12            Q.     Did anything prevent you from being able to    10:09:35

13       review Patreon's terms of use before you created           10:09:38

14       your Patreon account?                                      10:09:41

15            A.     No.                                            10:09:48

16            Q.     Now, whether you read the terms of use or      10:09:48

17       not, do you agree if you accept the terms, that's a        10:09:51

18       contract and you're bound by it; right?                    10:09:53

19            MR. GRILLE:      Object to form.                      10:09:56

20            THE WITNESS:      I do not know the legal minutiae.   10:09:59

21            MR. NORTON:                                           10:10:03

22            Q.     Well, whether you know the legal minutiae      10:10:03

23       or not, do you understand that if you click I Accept       10:10:06

24       on terms of use that you agree to be bound by the          10:10:08

25       terms?                                                     10:10:12

                                                                     Page 28

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 17 of 28
                                CONFIDENTIAL

1             MR. GRILLE:        Same objection.                     10:10:13

2             THE WITNESS:        If in a legal sense I am bound,    10:10:21

3        then yes.                                                   10:10:23

4             MR. NORTON:                                            10:10:23

5             Q.     I'm not asking you in a legal sense.            10:10:23

6                    I'm just asking, what's your understanding      10:10:25

7        when you go on the Internet and you go to a page and        10:10:27

8        it says Terms of Use, and it has an I Accept button,        10:10:29

9        and you click that I Accept button, do you have an          10:10:32

10       understanding of what that means?                           10:10:35

11            A.     Yeah, it means I accept the terms of use.       10:10:40

12            Q.     And when you accept the terms of use,           10:10:42

13       that's a contract; right?                                   10:10:43

14            MR. GRILLE:        Object to form.                     10:10:45

15            THE WITNESS:        I do not know if it's a contract   10:10:48

16       personally or if it's just a way to use their               10:10:50

17       website.                                                    10:10:55

18            MR. NORTON:                                            10:10:55

19            Q.     Okay.     But you understand that you're        10:10:56

20       agreeing to those terms of use?                             10:10:59

21            A.     Yes.                                            10:11:00

22            Q.     All right.     And if there is a consent to     10:11:01

23       disclosure of your information in those terms of            10:11:03

24       use, you're agreeing to that too; right?                    10:11:06

25            MR. GRILLE:        Object to form.                     10:11:08

                                                                      Page 29

                                     Veritext Legal Solutions
                             Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 18 of 28
                                CONFIDENTIAL

1             THE WITNESS:    Yes.                               10:11:13

2             MR. NORTON:                                        10:11:13

3             Q.   When you created your Patreon account, did    10:11:14

4        you look to see whether or not Patreon could            10:11:19

5        disclose information about what you did on the          10:11:26

6        Patreon site?                                           10:11:28

7             A.   No.                                           10:11:31

8             Q.   After you created your Patreon account in     10:11:40

9        2019, did you ever go on the Patreon site to try to     10:11:44

10       understand what information does Patreon disclose       10:11:47

11       about my activity on creator pages?                     10:11:51

12            A.   No.                                           10:12:02

13            Q.   In 2020, did you ever go on the Patreon       10:12:02

14       site to try to understand what information Patreon      10:12:04

15       discloses about your activity on Patreon creator        10:12:06

16       pages?                                                  10:12:10

17            A.   No.                                           10:12:11

18            Q.   Same question 2021.                           10:12:13

19            A.   No.                                           10:12:17

20            Q.   Same question 2022.                           10:12:17

21            A.   No.                                           10:12:21

22            Q.   So if you're mistaken and, in fact, you did   10:12:38

23       consent to Patreon disclosing information about your    10:12:41

24       activity on the website, would you agree to withdraw    10:12:45

25       your complaint?                                         10:12:49

                                                                  Page 30

                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 19 of 28
                                CONFIDENTIAL

1               A.   No.                                             10:12:51

2                    Oh, sorry.                                      10:12:52

3               Q.   Why not?                                        10:12:53

4               A.   From my understanding, the VPPA requires        10:12:57

5        you to have a separate form aside from any terms of         10:13:02

6        use that you must agree to.                                 10:13:06

7               Q.   Okay.     So even if you did consent to         10:13:14

8        Patreon's disclosure of your information to                 10:13:18

9        Facebook, you would still persist in your lawsuit if        10:13:21

10       that consent was not in the form required by the            10:13:29

11       VPPA; is that right?                                        10:13:32

12              A.   Yes.                                            10:13:34

13              Q.   Have you ever read the Patreon terms of         10:14:00

14       use?                                                        10:14:02

15              MR. GRILLE:      Object to form.                     10:14:06

16              THE WITNESS:      Not in their entirety.             10:14:11

17              MR. NORTON:                                          10:14:13

18              Q.   When was the first time you ever looked at      10:14:17

19       the Patreon terms of use, as best you can recall?           10:14:19

20              A.   I do not know.                                  10:14:54

21              Q.   Do you recall when this lawsuit was filed?      10:14:59

22              A.   Yes.                                            10:15:01

23              Q.   What's your memory of when the lawsuit was      10:15:02

24       first filed?                                                10:15:04

25              A.   2022.                                           10:15:05

                                                                      Page 31

                                     Veritext Legal Solutions
                             Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 20 of 28
                                CONFIDENTIAL

1             Q.   Around May?                                    10:15:07

2             A.   Yes.                                           10:15:08

3             Q.   Did you ever look at the Patreon terms of      10:15:09

4        use prior to this lawsuit being filed?                   10:15:11

5             A.   I don't believe so.                            10:15:22

6             Q.   Do you understand that Patreon, in addition    10:15:24

7        to the terms of use, also has a privacy policy?          10:15:25

8             A.   Yes.                                           10:15:29

9             Q.   Did you ever look at the privacy policy        10:15:30

10       before you filed this lawsuit?                           10:15:33

11            A.   I did not.                                     10:15:37

12            Q.   Have you looked at the privacy policy since    10:15:39

13       you filed this lawsuit?                                  10:15:41

14            A.   I don't know.                                  10:15:47

15            Q.   Do you have an understanding that Patreon      10:15:48

16       has a cookie policy?                                     10:15:50

17            A.   Yes.                                           10:15:53

18            Q.   Have you ever looked at the cookie policy?     10:15:55

19            A.   I don't believe so.                            10:16:01

20            Q.   We talked about your Facebook account a        10:16:11

21       little bit.                                              10:16:13

22                 I think you said somebody else created your    10:16:14

23       Facebook account for you; is that right?                 10:16:16

24            A.   Yes.                                           10:16:18

25            Q.   And is that because you were a minor at the    10:16:18

                                                                   Page 32

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 21 of 28
                                CONFIDENTIAL

1        time?                                                        10:16:20

2                A.   Yes.                                            10:16:20

3                Q.   All right.     How old are you now?             10:16:21

4                A.   21.                                             10:16:31

5                Q.   Have you ever agreed to the Facebook terms      10:16:40

6        of use, as best you know?                                    10:16:43

7                A.   My parents probably did, yes.                   10:16:49

8                Q.   Okay.     In the last three years, have you     10:16:52

9        ever clicked on anything whereby you agreed to               10:16:54

10       Facebook's updated terms of use?                             10:17:01

11               A.   I do not know.                                  10:17:05

12               Q.   Do you have an understanding of whether         10:17:06

13       your continued use of Facebook requires that you             10:17:07

14       agree to the current terms of use?                           10:17:09

15               A.   I do not know.                                  10:17:12

16               Q.   Did you ever bother to look?                    10:17:14

17               MR. GRILLE:      Object to form.                     10:17:17

18               THE WITNESS:      No.                                10:17:20

19               MR. NORTON:                                          10:17:24

20               Q.   Do you have an understanding of whether         10:17:24

21       Facebook has terms of use that identify what                 10:17:25

22       information Facebook collects about you on the               10:17:30

23       Internet?                                                    10:17:32

24               A.   Sorry, could you repeat that one more time.     10:17:33

25               Q.   Sure.                                           10:17:35

                                                                       Page 33

                                      Veritext Legal Solutions
                              Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 22 of 28
                                CONFIDENTIAL

1             Q.   But some amount more?                           11:57:52

2             MR. GRILLE:      Object to form.                     11:57:59

3             THE WITNESS:      No, I -- I think $10 was the max   11:58:00

4        price.                                                    11:58:03

5             MR. NORTON:                                          11:58:03

6             Q.   Okay.     For Channel 5, you were paying $5 a   11:58:03

7        month.                                                    11:58:08

8                  Would you have been willing to pay more         11:58:09

9        than $5 a month to get access to Channel 5?               11:58:11

10            MR. GRILLE:      Object to form.                     11:58:14

11            THE WITNESS:      No.                                11:58:15

12            MR. NORTON:                                          11:58:17

13            Q.   And the $2 you paid for the Astroworld          11:58:19

14       incident documentary, would you have been willing to      11:58:21

15       pay more than $2 for that?                                11:58:24

16            A.   No.                                             11:58:29

17            Q.   Was the $5 you paid for Channel 5 a fair        11:58:30

18       price?                                                    11:58:32

19            MR. GRILLE:      Object to form.                     11:58:32

20            THE WITNESS:      At the time, yes.                  11:58:36

21            MR. NORTON:                                          11:58:36

22            Q.   Was the $2 you paid to watch the Astroworld     11:58:37

23       documentary, was that a fair price?                       11:58:41

24            MR. GRILLE:      Object to form.                     11:58:44

25            THE WITNESS:      At the time, yes.                  11:58:45

                                                                    Page 80

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 23 of 28
                                CONFIDENTIAL

1             MR. NORTON:                                          11:58:45

2             Q.   You said, "at the time."                        11:58:46

3                  What do you mean, "at the time"?                11:58:47

4             A.   Before my understanding of Patreon's use of     11:58:49

5        the Meta Pixel.                                           11:58:53

6             Q.   Okay.     And what does -- Patreon's use of     11:58:55

7        the Meta Pixel, what effect does that have on your        11:58:58

8        view of what a fair price for that content was?           11:59:02

9             A.   Because they were profiting off of my           11:59:08

10       information and I wouldn't have, you know, chose to       11:59:14

11       pay the full price potentially at the time of my          11:59:21

12       subscribing if I had known of such data collecting.       11:59:24

13            Q.   You said, "potentially."                        11:59:29

14                 Why do you say, "potentially"?                  11:59:30

15            A.   I don't know how I would have changed my        11:59:59

16       behavior at the time.                                     12:00:03

17            Q.   Have you ever spent any money out of your       12:00:51

18       own pocket to enhance what you understand to be your      12:00:53

19       privacy on the Internet?                                  12:01:00

20            A.   I have paid for VPNs in the past.               12:01:05

21            Q.   When have you paid for a VPN?                   12:01:08

22            A.   Between 2019 and 2022.                          12:01:21

23            Q.   Why did you pay for a VPN?                      12:01:25

24            A.   Because I saw value in it.                      12:01:36

25            Q.   What was it that you were doing on the          12:01:40

                                                                    Page 81

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 24 of 28
                                CONFIDENTIAL

1        Internet that led you to conclude that it would be        12:01:41

2        preferable to have a VPN?                                 12:01:46

3             A.     There was some sort of app I was using        12:01:56

4        where only certain features were allowed with the         12:01:59

5        VPN on and I do enjoy the sense of security it            12:02:05

6        provides.                                                 12:02:14

7             Q.     What was the app?                             12:02:15

8             A.     I cannot recall.                              12:02:18

9             Q.     What was the purpose of the app?              12:02:19

10            A.     I cannot recall.                              12:02:23

11            Q.     How much did you pay for the VPN?             12:02:24

12            A.     It's probably between 10 to 15 a month, to    12:02:30

13       guess.                                                    12:02:37

14            Q.     Was the only reason why you paid 10 to $15    12:02:41

15       a month for a VPN so that you could use this app?         12:02:43

16            MR. GRILLE:     Object to form.                      12:02:47

17            THE WITNESS:     Not entirely.                       12:02:49

18            MR. NORTON:                                          12:02:53

19            Q.     What were the other reasons why you paid 10   12:02:53

20       to $15 a month for a VPN?                                 12:02:55

21            A.     The privacy aspect of it.                     12:02:59

22            Q.     Right.                                        12:03:03

23                   What were the other things that you were      12:03:05

24       doing that led you to value the enhanced privacy of       12:03:07

25       the VPN?                                                  12:03:12

                                                                    Page 82

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 25 of 28
                                CONFIDENTIAL

1                A.   Nothing beyond average Internet usage.           12:03:14

2                Q.   Were you engaging in any transactions that       12:03:21

3        were illegal?                                                 12:03:24

4                A.   No.                                              12:03:24

5                Q.   Were you buying drugs?                           12:03:25

6                A.   No.                                              12:03:26

7                Q.   Were you watching video content?                 12:03:35

8                MR. GRILLE:    Object to form.                        12:03:39

9                THE WITNESS:    Most likely at some point.            12:03:49

10               MR. NORTON:                                           12:03:51

11               Q.   Do you recall specific video content that        12:03:52

12       you were watching using the VPN?                              12:03:53

13               A.   No.                                              12:03:56

14               Q.   Did you ever use a VPN to visit the Patreon      12:03:58

15       site?                                                         12:04:03

16               A.   Not intentionally.                               12:04:10

17               Q.   Who was the VPN provider?                        12:04:19

18               A.   I don't know, but I could think of some          12:04:24

19       names I may have used.                                        12:04:26

20               Q.   Why don't you do that for me, please.            12:04:31

21               A.   Such as NordVPN.     And I think there's one     12:04:33

22       called -- it's Armor.        These are guesses.    I do not   12:04:38

23       recall.                                                       12:04:47

24               Q.   I understand.                                    12:04:50

25                    Is there something you could look at that        12:04:51

                                                                        Page 83

                                    Veritext Legal Solutions
                            Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 26 of 28
                                CONFIDENTIAL

1        might allow you to answer that question?                   12:04:53

2                A.   Probably.                                     12:04:56

3                Q.   What would you look at?                       12:04:57

4                A.   E-mail and e-mail receipts that may have      12:04:59

5        been sent.                                                 12:05:05

6                Q.   Other than spending money for a VPN, is       12:05:15

7        there any other occasion where you've spent money to       12:05:17

8        enhance what you perceive to be your privacy when          12:05:20

9        browsing the Internet?                                     12:05:24

10               A.   No.                                           12:05:26

11               Q.   Have you ever paid for software that blocks   12:05:29

12       cookies?                                                   12:05:32

13               A.   No.                                           12:05:32

14               Q.   Want to go back to the devices that you've    12:06:03

15       used to access Patreon and Facebook.                       12:06:05

16                    Have you ever allowed anyone to borrow        12:06:15

17       those devices?                                             12:06:17

18                    Let's start with the 2019 iPhone, did you     12:06:20

19       ever loan the 2019 iPhone to anyone else?                  12:06:23

20               A.   No.                                           12:06:23

21               Q.   Did you ever loan the 2021 iPhone to anyone   12:06:24

22       else?                                                      12:06:26

23               A.   No.                                           12:06:27

24               Q.   Did you ever loan your MacBook to anyone      12:06:27

25       else?                                                      12:06:29

                                                                     Page 84

                                    Veritext Legal Solutions
                            Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 27 of 28
                                CONFIDENTIAL

1             A.    No.                                           12:06:29

2             Q.    Whether you ever loaned it to anyone else     12:06:30

3        or not, has anyone else ever used one of those           12:06:32

4        devices?                                                 12:06:35

5             A.    Not from what I can remember.                 12:06:37

6             Q.    Were there other people who had access to     12:06:42

7        those devices?                                           12:06:45

8             A.    Potentially.                                  12:06:53

9             Q.    Who potentially had access to your devices?   12:06:54

10            A.    My girlfriend during college.                 12:07:04

11            Q.    Which of the devices did your girlfriend      12:07:08

12       during college have access to?                           12:07:10

13            A.    She may have had the access to my laptop.     12:07:13

14            Q.    What are the circumstances in which she may   12:07:20

15       have had access to your laptop?                          12:07:22

16            A.    If she decided to pull it out while at my     12:07:28

17       house.                                                   12:07:34

18            Q.    Did your girlfriend in college have a         12:07:37

19       Facebook account?                                        12:07:39

20            A.    I think so, yeah.                             12:07:42

21            Q.    Is there anything that would prevent her      12:07:48

22       from logging into her Facebook account on your           12:07:50

23       computer if she had access to it?                        12:07:53

24            A.    No.                                           12:07:56

25            Q.    What is -- what is your former girlfriend's   12:08:03

                                                                   Page 85

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:22-cv-03131-JCS Document 87-12 Filed 11/17/23 Page 28 of 28
                                CONFIDENTIAL

1         STATE OF CALIFORNIA         )
                                      ) ss.
2         COUNTY OF LOS ANGELES )
3
4              I, MARY K. MEDLEY, CSR NO. 9557, in and for the
5         State of California, do hereby certify:
6               That prior to being examined, the witness named
7         in the foregoing deposition was by me duly sworn to
8         testify the truth, the whole truth, and nothing but
9         the truth;
10             That said deposition was taken down by me in
11        shorthand at the time and place therein named and
12        thereafter reduced to typewriting under my
13        direction, and the same is a true, correct, and
14        complete transcript of said proceedings;
15             That if the foregoing pertains to the original
16        transcript of a deposition in a Federal Case, before
17        completion of the proceedings, review of the
18        transcript {x} was {        }     was not required.
19             I further certify that I am not interested in
20        the event of the action.
21        Witness my hand this 10th day of October 2023.
22
         <%18710,Signature%>
23                           CSR No. 9557
24                                        Certified Shorthand Reporter
25                                            State of California

                                                                Page 138

                                Veritext Legal Solutions
                        Calendar-CA@veritext.com 866-299-5127
